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LAW OFFICE OF RACHEL S. BLUMENFELD PLLC                       Hearing Date: November 1, 2023 @
26 Court Street, Suite 2220                                   3:00 p.m.
Brooklyn, New York 11242
Telephone: (718) 858-9600
RACHEL BLUMENFELD

Proposed Counsel to the Debtor
And Debtor-in-Possession

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK



        In re:                                            Chapter 11

        SHOWFIELDS, INC., et al.,                         Case No.: 23-43643 (JMM)

                               Debtor.                    (Jointly Administered)




     PROPOSED AGENDA FOR HEARING SCHEDULED FOR NOVEMBER 1, 2023



I. UNCONTESTED MATTERS

        A. Status Conference

        Related Documents:

1. Order Scheduling Subchapter V Initial Case Management Conference [ECF Docket 34] (Filed
October 18, 2023).

        Status: This matter is going forward.

        B. Authorizing the Use of Cash Collateral

        Related Documents:

1.    Motion for Entry of Interim and Final Orders Authorizing the Use of Cash Collateral, etc
     [ECF Docket No. 21] (Filed October 13, 2023).

2. Order Scheduling Hearing on Motion for entry of Interim and Final Orders Authorizing Use
   of Cash Collateral, etc [ECF Docket No. 28] (October 16, 2023).


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3. Order Scheduling Hearing on First Day Motions [ECF Docket No. 33] (Filed October 18,
   2023).

4. Affidavit of Service [ECF Docket No. 36] (Filed October 20, 2023).

5. Order Granting Motion on an Interim Basis [ECF Docket No. 41] (Filed on October 26,
   2023).

        Status: This matter is going forward.

        C. Authorizing the Payment of Pre-Petition wages.

        Related Documents:

1.   Order Authorizing but not Direction Showfields Inc. to Pay $112,000 and Showfields NY 2
     LLC to Pay $13,500 [ECF Docket No. 42] (Filed October 26, 2023).

2. Motion to Limit Notice for Entry of an Order Scheduling a Hearing on an Expedited Basis
   [ECF Docket 17] (Filed October 12, 2023).

3. Order Scheduling Hearing on First Day Motions [ECF Docket No. 33] (Filed October 18,
   2023).

4. Affidavit of Service [ECF Docket No. 36] (Filed October 20, 2023).

        Status: This matter is going forward.

        D. Prohibiting Utility Companies from Altering, Refusing or Discontinuing Service.

        Related Documents:

1. Motion for Continuation of Utility Service and Assurance of Payment to Utility Company
   [ECF Docket No. 11] (Filed October 12, 2023).

2. Motion to Limit Notice for Entry of an Order Scheduling a Hearing on an Expedited Basis
   [ECF Docket 17] (Filed October 12, 2023).

3. Order Scheduling Hearing on First Day Motions [ECF Docket No. 33} (Filed October 18,
   2023).

4. Affidavit of Service [ECF Docket No. 36] (Filed October 20, 2023).

        Status: This matter is going forward.

        E. Continuation of Pre-Petition Insurance Programs

        Related Documents:

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1.. Motion to Authorize the Entry of Interim and Final Orders to Continue their Prepetition
Insurance and Pay Obligations Thereto [ECF Docket No. 12] (Filed October 12, 2023).

2. Motion to Limit Notice for Entry of an Order Scheduling a Hearing on an Expedited Basis
[ECF Docket 17] (Filed October 12, 2023).

3. Order Scheduling Hearing on First Day Motions [ECF Docket No. 33] (Filed October 18,
2023).

4. Affidavit of Service [ECF Docket No. 36] (Filed October 20, 2023).

        Status: This matter is going forward.

      F. Authorizing the Debtor to Maintain Cash Management System & Existing Bank
Accounts for the Interim Period.

        Related Documents:

1.   Motion to Authorize Debtor to Maintain Current Cash Management System and Existing
     Bank Accounts for the Interim Period [ECF Docket No. 15] (Filed October 12, 2023).

2. Motion to Limit Notice for Entry of an Order Scheduling a Hearing on an Expedited Basis
   [ECF Docket 17] (Filed October 12, 2023).

3. Order Scheduling Hearing on First Day Motions [ECF Docket No. 33] (Filed October 18,
   2023).

4. Affidavit of Service [ECF Docket No. 36] (Filed October 20, 2023).

        Status: This matter is going forward.

        G. Pay Pre-petition Claims of Certain Critical Vendors and 503(B)(9) Claimants

        Related Documents:

1.    Motion to Authorize Entry of Interim and Final Orders (I) Authorizing the Debtors to Pay
     Prepetition Claims of Certain Critical Vendors and 503(B)(9) Claimants; (II) Granting
     Administrative Expense Priority and (III) Granting Related Relief [ECF Docket No. 16]
     (Filed October 12, 2023).

2. Motion to Limit Notice for Entry of an Order Scheduling a Hearing on an Expedited Basis
   [ECF Docket 17] (Filed October 12, 2023).

3. Order Scheduling Hearing on First Day Motions [ECF Docket No. 33] (Filed October 18,
   2023).



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4. Affidavit of Service [ECF Docket No. 36] (Filed October 20, 2023).

       Status: This matter is going forward.

      H. Application to Employ the Law Offices of Rachel S. Blumenfeld as Attorney for
the Debtor and Debtor In Possession

       Related Documents:

1. Application to Employ Law Office of Rachel S. Blumenfeld PLLC [ECF Docket No. 13]
   (Filed on October 12, 2023).

2. Order Scheduling Hearing on First Day Motions [ECF Docket No. 33] (Filed October 18,
   2023).

3. Affidavit of Service [ECF Docket No. 36] (Filed October 20, 2023).

4. Emergency Motion / Shortened Notice in Support filed 10/26/2023 [ECF Docket No. 43
   (Filed October 26, 2023).

5. Order Scheduling Hearing on Shortened Notice to Consider Debtor's Application to Employ
   the Law Offices of Rachel S. Blumenfeld [ECF Docket No. 44] (Filed October 27, 2023).

6. Affidavit/Certificate of Service [ECF Docket No. 45] (Filed October 30, 2023).

       Status: This matter is going forward.

       I. Authorizing Establishing Monthly Compensation & Reimbursement of Expenses
of Professionals.

       Related Documents:

     1. Motion to Authorize/Direct Motion for Order Establishing Procedures for Monthly
Compensation [ECF Docket No. 14] (Filed October 12, 2023).

       2. Motion to Limit Notice for Entry of an Order Scheduling a Hearing on an Expedited
Basis [ECF Docket 17] (Filed October 12, 2023).

       3. Order Scheduling Hearing on First Day Motions [ECF Docket No. 33] (Filed October
18, 2023).

       4. Affidavit of Service [ECF Docket No. 36] (Filed October 20, 2023).

       Status: This matter is going forward.




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Dated: Brooklyn, New York
       November 1, 2023
                                              Respectfully submitted,
                                              Law Office of Rachel S. Blumenfeld

                                      By: ___/s/ Rachel S. Blumenfeld_______
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                                             Debtor in Possession




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